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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                             MIDLAND-ODESSA DIVISION



 RESONANT SYSTEMS, INC. d/b/a
 RevelHMI,                                                 Case No. 7:23-cv-00077-ADA

                      Plaintiff,                           JURY TRIAL DEMANDED

  v.

 APPLE INC.,

                      Defendant.



                       NOTICE OF AGREED EXTENSION TO CERTAIN
                        PRETRIAL SCHEDULING ORDER DEADLINES

TO THE HONORABLE JUDGE:

         Pursuant to the Court’s Amended Standing Order Regarding Joint or Unopposed Request

to Change Deadlines dated March 7, 2022, Plaintiff Resonant Systems, Inc. (“Resonant”) and

Defendant Apple Inc. (“Apple”) (collectively, the “Parties”) hereby provide notice that the Parties

have agreed to extensions of certain pretrial deadlines as reflected in the amended Exhibit A,

attached.

         1.       Under these extensions, the Parties’ Daubert and dispositive motion briefing will

be complete nearly two months prior to the scheduled pretrial conference, which remains

unchanged.

         2.       The Parties affirm that this is an agreed request to change deadlines.

         3.       The Parties affirm that these extensions do not change the date of any hearing, trial,

or other Court date.


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         4.       The Parties affirm that these extensions do not extend any deadline of a final

submission that affects the Court’s ability to hold a scheduled hearing, trial, or Court event.


Date: July 3, 2024                                Respectfully submitted,

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                                                 Attorneys for Defendant Apple Inc.



                                      Certificate of Service

         Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that all counsel of record who have appeared in this case are being served on this 3rd day of July,

2024, with a copy of the foregoing via the Court's CM/ECF system.

                                                         /s/ Steven J. Wingard___
                                                         Steven J. Wingard




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